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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

STATE OF CALIFORNIA, et al.,

                       Plaintiffs,
                                                            Civil Action No. 25-10548-MJJ
       v.

U.S. DEPARTMENT OF EDUCATION,
et al.,

                       Defendants.

                              DEFENDANTS’ STATUS REPORT

       Pursuant to the Court’s March 10, 2025 order, Doc. No. 41 (the “Order”), Defendants

respectfully submit the following status report.

   1. Following entry of the Order last evening at 10:46pm EDT, the Department of Education

       provided notice of the Order to all Department employees and individuals working on the

       Department’s behalf who are involved with grants awarded under the Teacher Quality

       Partnership (TQP) Program and the Supporting Effective Educator Development (SEED)

       Grant Program. The Department also provided notice of the Order to the TQP and SEED

       grant recipients in the Plaintiff States who previously received the termination letters at

       issue in this case.

   2. In addition, the Department removed the termination status of all TQP and SEED grant

       recipients in the Plaintiff States who previously received the termination letters at issue in

       this case and restored such grant recipients to their prior status.

   3. Defendants also respectfully notify the Court that, in addition to taking the foregoing steps

       to ensure compliance with the Order, Defendants anticipate seeking emergency relief from

       the Order in this Court and the United States Court of Appeals for the First Circuit.
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                                                     Respectfully submitted,

                                                     LEAH B. FOLEY
                                                     United States Attorney


Dated: March 11, 2025                 By:            /s/ Michael L. Fitzgerald
                                                     MICHAEL L. FITZGERALD
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants.

                                                     /s/ Michael L. Fitzgerald
                                                     MICHAEL L. FITZGERALD
                                                     Assistant U.S. Attorney

Dated: March 11, 2025
